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                                          STATE OF NEW YORK
                                    OFFICE OF THE ATTORNEY GENERAL

 LETITIA JAMES                                                                     DIVISION OF STATE COUNSEL
ATTORNEY GENERAL                                                                        LITIGATION BUREAU
                                      Writer’s Direct Dial: (212) 416-6359

                                                                     August 10, 2022
    BY ECF:
    Hon. Kenneth M. Karas
    United States District Judge
    Southern District of New York
    300 Quarropas Street
    White Plains, New York 10601

                    Re:    Labossiere v. Downstate Facility et al, et al; 7:21-cv-10538-KMK

    Dear Judge Karas:

            I write on behalf of this Office in response to the Court’s June 14, 2022 Order seeking an
    address where the Defendant “N. Baxter” may be served. See Dkt. No. 17. In accordance with that
    Order, this Office has learned the following information from the Department of Corrections and
    Community Supervision regarding the Defendant specified in the Court’s June 14, 2022 Order:

           •     “N. Baxter”: The full name of the person Plaintiff appears to intend to name is
                 Correction Officer Neil Baxter, and he can be served at Shawangunk Correctional
                 Facility, 200 Quick Road, P.O. Box 750, Wallkill, NY 12589-0750.


            The above details are based on information available at this time and are not an admission
    that the individuals engaged in the acts alleged or violated Plaintiff’s rights.

                                                                     Respectfully submitted,

                                                                     S/ Andrew Blancato
                                                                     Andrew Blancato
                                                                     Assistant Attorney General
                                                                     Andrew.Blancato@ag.ny.gov
    cc:    Wilfred Labossiere
           14-A-2683
           Sing Sing Correctional Facility
           354 Hunter Street
           Ossining, NY 10562


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                                   DECLARATION OF SERVICE

       Andrew Blancato, pursuant to 28 U.S.C. § 1746, declares under penalty of perjury as
follows:

       I am over 18 years of age and not a party to this action. On August 10, 2022, I caused to
be served the annexed Letter upon:

       Wilfred Labossiere
       14-A-2683
       Sing Sing Correctional Facility
       354 Hunter Street
       Ossining, NY 10562

plaintiff pro se, by mailing a true copy of the attached papers, enclosed and properly sealed in a
postpaid envelope, which was deposited in an official depository under the exclusive care and
custody of the United States Postal Services within the State of New York addressed to the above-
noted address designated by plaintiff for that purpose.


                                                    S/ Andrew Blancato
                                                    Andrew Blancato
                                                    Assistant Attorney General


Executed on August 10, 2022




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